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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

       UNITED STATES OF AMERICA                    *      Case No. 22-439

       v.                                          *

       TYRELL JEFFRIES                             *
       DEFENDANT
                                                    *

       *       *      *       *      *      *      *       *      *       *      *       *


POSITION ON MOTION TO EXTEND DEADLINE FOR FILING PRETRIAL MOTIONS


       The Defendant, Tyrell Jeffries, through his counsel, Ryan Burke, has no objection to the

motion to extend deadline for filing pretrial motions (ECF-No 92) from October 30, 2023, to

November 30, 2023.




                                             _____________________________
                                             Ryan Burke 29750
                                             Attorney for Defendant
